. sCase-17-30216::Docurent 15 Fileckin TXSB-on 01/27/17 Page 1 of 30 -

AI MTR MU tLiolaiir-] (ola Com ieC- cin ras zene Laer: to

Lawrence
Last Name

leeshia

First Name

Keyonnie
Middle Name

Debtor 1

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Texas

17-30216

(If known)

Case number

 

 

 

Official Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical Information

Tate See fers
Paeietcl yietey Cc

Suuinesn Lice at Texas

[Leo

JAN 27 2U1/

David J, Bradley, Clerk of Court

QU) Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

aa Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

Your assets
Value of what you own

 

 

 

 

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F

 

ae Summarize Your income and ~xpenses

4. Schedule |: Your income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule |

wn

Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J

Official Form 106Sum

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

Your total liabilities

Summary of Your Assets and Liabilities and Certain Statistical Information

1a. Copy line 55, Total real estate, from Schedule A/B ou... .ccccccsccsccensnenseessesesseeseanecsenesassesseevseneseeresseassansvacaenteenesnenaets s___—«.00
1b. Copy line 62, Total personal property, from Schedule A/Bo....cccccccccccccccssssscessssesesessessesscsssucsesssstestsvssessssesaeeusaveneevenesneees $ 8,087.71
1c. Copy line 63, Total of all property on Schedule A/B uu... cc scccsecseseteenetesenecnenesenseesessenesnssessesseaeaeseeetarseseseeenesneaneenenaees $ 8,087.71
i Summarize Your Liabilities
Your liabilities

Amount you owe

$10,899.47
$ 0.00
+s 108,117.00

 

 

3 119,016.47

 

 

5 2,103.93

5 1,939.00

page 1 of 2

 
+ + -Casé17-30216Bodument%s Filed in TXSB-on 01/27/17 Page 2 of 30

Debtor 1 leeshia Keyonnie Lawrence Case number (rknown_1 ?-30216

 

First Name Middie Name Last Name

Cz Answer These Questions for Administrative and Statistical Records

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

v4 Yes

(} No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 

7. What kind of debt do you have?

this form to the court with your other schedules.

i Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

L) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

 

$ 2,460.08

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 101,826.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 101,826.00

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information

 

page 2 of 2

 
ee a.

 

iL MUDM lim labcelaaar-1icelamcomis(-1aldiaas celelmer:]t-M- ere RUM LLale

Lawrence

Middle Name

leeshia

First Name

Keyonnie

Debtor 1

 

Last Name

Debtor 2
(Spouse, ff filing) First Name

 

Middie Name Last Name

United States Bankruptcy Court for the: Southern District of Texas
Case number 17-30216

 

 

Official Form 106A/B
Schedule A/B: Property

 

‘Cas@17-30216 Document 15 * Filed-#r7XSB or 01727727 ‘Page 3 of 30 =

Southern Bitty Texas
JAN 27 2017

David J, Bradley, Clerk of Court

OQ) Check if this is an
amended filing

42/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. !f more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

4 No. Go to Part 2.
(J Yes. Where is the property?

What is the property? Check all that apply.

Ql Single-family home
QQ Duptex or multi-unit building
CJ Condominium or cooperative

i 1.1.

 

Street address, if available, or other description

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

(J Manufactured or mobile home entire property? portion you own?
() Land $ $
L) investment property
i CJ Timeshare Describe the nature of your ownership
City State ZIP Code QO oth interest (such as fee simple, tenancy by
ther the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
L) Debtor 1 only

County UI) Debtor 2 only

L} Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

LI check if this is community property
(see instructions)

 

If you own or have more than one, list here:

1.2.

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

Official Form 106A/B

Other information you wish to add about this item, such as local
property identification number:

 

What is the property? Check aii that apply.
LJ Single-family home

QQ Duplex or multi-unit building

UL) Condominium or cooperative

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the

 

() Manufactured or mobile home entire property? portion you own?

Q Land $ $

(} investment property ,

UO) Timeshare Describe the nature of your ownership

0 oth interest (such as fee simple, tenancy by
er

 

the entireties, or a life estate), if known.
‘Nho has an interest in the property? Check one.
[J Debtor 1 only

Ca] Debtor 2 only

(J Debtor 1 and Debtor 2 only

i] At feast one of the debtors and another

 

(] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 1
Debtor1  leeshia Keyonnie

Lawrence

-~ Case 17-30216 Document 13“Filed in TXSBGN 01/27/17 Page soso ~

 

First Name Middle Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

_ 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here, .................:..ccccecnecececneneneeceeeeeeeeeeen ee eeeeeea teen eeseenesegeeeries »>

What is the property? Check all that apply.
Q Single-family home

CJ Duplex or multi-unit building

CJ Condominium or cooperative

(J Manufactured or mobile home

C) Land

LJ Investment property

L) Timeshare

CL) other

 

Who has an interest in the property? Check one.

Q Debtor 1 only

CQ Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J) At least one of the debtors and another

Case number (it known) 17

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

UL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

$ 0.00

 

 

 

Ee Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

w No
UL) Yes

3.1. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

if you own or have more than one, describe here:

3.2, Make!
Model:
Year:
Approximate mileage:

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.

LI Debtor 1 only

CI Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L] Check if this is community property (see
instructions)

_ ‘Who has an interest in the property? Check one.

CY Debtor 1 only

LI Debtor 2 only

[] Debtor 1 and Debtor 2 only

C1] At least one of the debtors and another

(J Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

oY
~

page 2

 

 

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!

 

 

 
—_

~-Case 17- 30216~-Hocunfent 15 Filedit* TXSB on 01/27/17 PAG >. ‘of 307°

Case number (it known)

 

Who has an interest in the property? Check one.

Debtor 4 leeshia Keyonnie Lawrence
First Name Middle Name Last Name
3.3. Make:
Model: CQ) Debtor 1 only
Y C) Debtor 2 only
ear:

Approximate mileage:

Other information:

 

 

 

 

Make:
Model:

3.4.

Year:
Approximate mileage:

Other information:

 

 

 

 

J No
O Yes

Make:
Model:

4.1.

Year:

Other information:

 

 

 

 

 

 

Make:
Model:

4.2.

Year:

Other information:

If you own or have more than one, list here:

 

3

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

(.} Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

L] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C) Debtor 1 only

C) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
U) Debtor 1 only

C) Debtor 2 only

C) Debtor 4 and Debtor 2 only

(J At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C Debtor 1 only

CJ Debtor 2 only

C2) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

(_) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the |
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Ha ve Claims Secured by Property.

Current value ofthe Current value of the -
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

; 0.00

 

 

page 3

 

 
Debtor1  leeshia Keyonnie Lawrence ©

First Name Middle Name Last Name

| aS Describe Your Personal and Household Items

- Do you own or have any legal or equitable interest in any of the following items?

Case number (i known) 17-

 

- oye wes Cage 430216" Document 15° Filed in TXSB on ©4/27717° Pare 6 of80 0 7

 

Current value of the
portion you own?
Do not deduct secured claims ©

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: beet - . or exemptions.
' 6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
Wd No
C) Yes. Describe......... $
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
(A No
() Yes. Describe.......... 5
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
4 No
LU] Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
; and kayaks; carpentry tools; musical instruments
(4 No
LI Yes. Describe.......... $
10. Firearms
i Examples: Pistols, riftes, shotguns, ammunition, and related equipment
(4 No
LL) Yes. Describe.......... $
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
UL) No
Z Yes. Describe.......... Cloths and shoes $ 200.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
oI No 60.00
0d Yes. Describe.......... . . .
es. Describe Wedding Ring, Costume Jewelry $e"
13. Non-farm animals
Examples: Dogs, sats, birds, horses
“No | -
i] Yes. Describe........... $
4. Any other personai and household items you did not already list, including any health aids you did not list
‘A No
LJ Yes. Give specific 5
information. ..............
15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached . $ 260.00
for Part 3. Write that mumber Were occ cee cceccsesessseseneunetvssinesestisee ts nestnsavusvtssnscsasesussunsvevescsnersetsvsesvearesanesautasesave >

 

 

 

Official Form 106A/B / Schedule A/B: Property page 4

 
Se Case 47-30216 Décument15. Filed in FXSBOn 04/27717 Page 7 of 30 mS teat
Debtor 4 leeshia Keyonnie Lawrence Case number (rknown 1 /-30216

 

 

 

First Name Middle Name Last Name
ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
bo : or exemptions.
» 16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CI No
VES oa ececssnsetntetntisisieteiesiieisisnstisisistststntisieisisiststistsinsssntieustnirteienateian CASH cocccccceceecce $ 15.00

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

{) No
WD VeS oo Institution name:
47.1. Checking account: Chase Bank $ 31.39
17,2, Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account. _SNAP EBT Account $ 132. Uo
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
© WNo
CO Yes oc. Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
Y No Name of entity: % of ownership:
(J Yes. Give specific 0% % $
information about O%
PREM. cece ° % $
0% % 5

Official Form 106A/B Schedule A/B: Property page 5
- = > + Case 17-30216 Document 15 Filed in TXSB'0n 01/27/17 - Page 8 of:30 Tesi eeatantenie: HO
Debto1 leeshia Keyonnie Lawrence Case number drmnowm_ 17-302 16

First Name Middle Name Last Name

 

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi No

LL) Yes. Give specific Issuer name:
information about

 

 

 

. 21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2) No
A Yes. List each
account separately. Type of account: Institution name:
401(k) or similar pian: TEXASAVER $ 158.34
Pension plan: Employee Retirement System of Texas $ 2,109.67
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
: 22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
VA No
CD VY eS occ Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: 5
Water: $
Rented furniture: $
Other: ’ $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
‘A No
BD Yes oo issuer name and description:
: 3
. $
$

 

Official Form 106A/B Schedule A/B: Property page 6
- Case-17-30216 Document 15. ‘Filed iff TXSB on 01727/t7- Page sora eer
Debtor?  leeshia eyonnie Lawrence Case number tsmown 1 /-30216

 

First Name Middle Name Last Name

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
Wi No
CDV eS oes

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

WZ No

y

LJ Yes. Give specific |
information about them... L$.

i

 

 

 

 

_ 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No

L] Yes. Give specific
information about them. ... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

J No
LJ Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured

 

 

claims or exemptions.

_ 28. Tax refunds owed to you

C] No

 

d Yes. Give specific information : . 4,927.00
about them, including whether 2015 Earned Income Credit-$3,359...2015 Federal: $e

you already filed the returns Federal Tax Refund-$568...2015 State Tax State: $ 0.00

and the tax years. oo... Refund-$0...2015 Child Tax Credit-$1,000 Local: $ 0.00
(estimated as Returns, Not Filed) ocal —————————

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No

(J Yes. Give specific information..............

 

» Alimony:
~ . Maintenance:

_ Divorce settlement:

$
$.
Support: $.
$
$

Property settlement.

390. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
i) No
1 Yes. Give specific information... Payroll Travel Payment, currently being held by Controller's

: $ 363.37
: Office :

Official Form 106A/B Schedule A/B: Property page 7

 
Debtor 4 leeshia Keyonnie Lawrence Case number (iknow 1 ¢~

First Name Middle Name Last Name

“= Case 17-30216 ‘Document 15° Filéctin TXSB"Sn onfo7/17* Page far
17-302

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

CL No

Yes. Name the insurance company

- Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

United Health Care Debtor $ 15.00

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No

CD Yes. Give specific information..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No

CU) Yes. Describe each claim. ee

 

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

2 No

U) Yes. Describe each claim.

 

 

 

 

35. Any financial assets you did not already list

2 No

LJ Yes. Give specific information............

 

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here oo... ccc ccsecsssssesssssessosssssssssescsssecssvessssssstssuseesssnecssssscasssscesssessessestssinesssnessssesceesasecsusetesssess > $__ 7,152.23

 

 

 

oa Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

_ 37.Do you own or have any legal or equitable interest in any business-related property?
(A No. Go to Part 6.
L] Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

- 4 or exemptions.
38. Accounts receivabie or commissions you already earned
4 No
(J Yes. Describe.......
$

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
"A No
C) Yes. Describe.......

 

 

Official Form 106A/B Schedule A/B: Property page 8

 
_Casé 17-30216 ~Detument1s Filed it TXSB on 01/2477 “Paget of 30 ~
Debtor1 leeshia Keyonnie Lawrence Case number (rtnown 1730216

First Name Middle Name Last Name

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

W No

CI Yes. Describe.......

 

 

 

 

_ 41. Inventory

Wd No
U] Yes. Describe....... s

 

 

_ 42.Interests in partnerships or joint ventures

W No

C) Yes. Describe... Name of entity: % of ownership:

% $
% $
% $

 

 

» 43. Customer lists, mailing lists, or other compilations
Wd No
CU] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
i (J No
L) Yes. Describe. .......

 

 

 

 

 

44. Any business-related property you did not already list
Wd No

C] Yes. Give specific
information .........

 

 

 

 

fA Ff Ff FH Ff HF

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

$ 0.00
for Part 5. Write that number Were oo... cc ccecsscsscsssesseccscsssaccnsescssnersescsesesusesscssssssssseesenssesavscseaseuseessseeseassesenscscecsasenscssaseseass > CO

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
0 No. Go to Part 7.
i] Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or éxemptions.
47. Farm animals

Examples: Livestock, poultry, farm-raised fish

“d No

 

Official Form 106A/B Schedule A/B: Property page 9

 
“Case ‘t7=30216 Document 15 : Filed in TXSB Fee int 12°-0f 30
Debtor1  leeshia Keyonnie Lawrence Case number iknow 0216

First Name Middie Name Last Name

 

48. Crops—either growing or harvested

J No

ta) Yes. Give specific
information. ............ $

 

 

 

 

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

No

 

 

 

 

 

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list
- No

C) Yes. Give specific
information. ............ $

 

 

 

 

> §2. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

$ 0.00
for Part 6. Write that number Were ooo. ccesscasesscecsessvescecsasavssscsssesavesscsesssesessssesscssenscsssesanessesessceeseseeseecesetsaenssaeeesaes > TT

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

3. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Wd No

: (2 Yes. Give specific $
information. ............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here oo... cececcceccssseesteeeteeneeeteeeeeseeeees > si.

 

 

 

 

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, lime 2 0c ceccccsccsccssccsssesssesssesssessucssussevesasesesceveceveesessseseussenssestessussvussuusaniesavesiesnevaranssuctiseertesauesuessuessnteee > §$ 0.00
! 56. Part 2: Total vehicles, line 5 $. 0.00 :

57. Part 3: Total personal and household items, line 15 $ 260.00

58. Part 4: Total financial assets, line 36 $ 7,752.23

59. Part 5: Total business-related property, line 45 ~ : 3 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61. Part 7: Total other property not listed, line 54 +5 0.00

82. Total personal property. Add lines 56 through 61. .0.0.0..0...00.. $ 8,012.23 Copy personal property total > +3 8,012.23

 

63. Total of all property on Schedule A/B. Add line 55 + lie 62...ccccccccccsccsscscccsssssvesesssssevuvesessesiuestasssessseiestsaseseseseeee 5 8,087.71

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
 

Case 17730216 Document 15° Filed in TXSB*6Tt 01/27/T 7 Page‘t3 of 3077" - >

LMI Cal MIaLcelatirlitolamcomcel=Tal (isms cell Laer: Li =n

Debto'1  leeshia Keyonnie Lawrence olued Suse Coutts
First Name Middle Name Last Name Soutnem oto of Texss

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

JAN 27 cull

United States Bankruptcy Court for the: Southern District of Texas

“Case umber * 17-30216 David J. Bradley, Clerk of Catton ack if this is an

(if known)

 

amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

 

a Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
i You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
description: Cloth h $200.00 Wi s 200.00 11 U.S.C. § 522(d)(3)
Line from L) 100% of fair market value, up to
Schedule A/B: 12 any applicable statutory limit
description, Jewelry $60.00 Wis 60.00 11 U.S.C. § 522(d)(4)
Line from 12 C) 100% of fair market value, up to
Schedule A/B: any applicabie statutory limit
‘ocaription: C280 -& Deposits 5 178.85 Us 178.85 41 U.S.C. § 522(d)(5)
Line from Cl 100% of fair market value, up to
Schedule A/B: 16/7 _ any applicable statutory limit _ .

3. Are you claiming a homestead exemption of more than $160,375?
{Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
A No
CI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
i No
L) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
Case 17-30216 Dotument 15 Filethir’ TXSB off 01/27/17 Page 14 of 30% Fs
leeshia Keyonnie Lawrence Case number itknown_1/-30216

First Name Middle Name Last Name

aa Additional Page

Debtor 1

 

 

 

Brief description of the property and line
on Schedule A/B that lists this property

Current value of the
portion you own

Amount of the exemption you claim

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for each exemption
Schedule A/B

‘eceription;  -RetitementAccount_ 2,109.67 ws 2,109.67 11 U.S.C. § 522(b)(3)(C)
Line from 21 C] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: 401k) Account 158.34 Ws___ 158.34 11 U.S.C. § 522(b)(3)(C)
Line from LJ 100% of fair market value, up to
Schedule A/B: 21 any applicable statutory limit
Socerption; © 12%Refund-estimate 4,927.00 ws 4,927.00 11 U.S.C. § 522(d)(5)
Line from 28 LJ 100% of fair market value, up to
Schedule A/B: — any applicable statutory limit
scctription;  -PaVfoll-Travel Pay $ 363.37 Ws 363.37 11 U.S.C. § 522(4)(11)(E)
Line from 30 Ld 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Ls
Line from C) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: ~— any applicable statutory limit
Brief
description: $ Os
Line from Cl 400% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Us
Line from L) 100% of fair market value, up to
Schedule A/B: —-—— any applicable statutory limit
Brief
description: $ Os -
Line from LJ 100% of fair market value, up to
Schedule A/B; 77 any applicable statutory limit
Brief
description: $ L$ .
Line from } 100% of fair market value, up to
Schedule A/B: ™ any applicable statutory limit ©
Brief :
description: $ C$
Line from (J 100% of fair market vaiue, up to
Schedule A/B:_ ———— any applicable statutory limit
Brief

iption: (I$
description: $ =
Line from CL) 100% of fair market value, up to
Schedule A/B: ~ any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

page 2 of 2.
oe SE

Case. 17-30216 ‘Document 15 Filed in TXSB on TOLe 7/47: Page 15°C

BES toes

Su ~
Greet oF Texes

 

UM Lam I MUilcelguir liom Comlel-Tiltia ae cell mercies

leeshia

First Name

Lawrence

Last Name

Keyonnie

Middle Name

Debtor 1

 

JAN 27 cut

Debtor 2 Clerk of Court

(Spouse, ff filing) First Name

 

Middle Name Last Name

Pavid J. Bradley,

United States Bankruptcy Court for the: Southern District of Texas

17-30216

Case number
(if known)

 

 

UL) Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1.: Do any creditors have claims secured by your property?
C) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Wf Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106D

Schedule D: Creditors Who Have Ciaims Secured by Property

Column A Column B - Column |
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim © Value of collateral. "Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this. ~ portion
As much as possible, list the claims in alphabetical order according to the creditor's name. valu of collateral. Slalite ‘ Hany
[2.4] The Garner Law Firm Describe the property that secures the claim: $ 10, 899. 47 $ 50. 00 $ 0.00
Creditors Name
7660 Woodway Dr. Paying Monthly Installments
Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent
Houston TX 77063 © unliquidated
City State ZIP Code wf Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
i Debtor 1 only C An agreement you made (such as mortgage or secured
(J Debtor 2 only car loan)
O Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic’s lien)
CJ Atleast one of the debtors and another wd Judgment lien from a lawsuit
CJ Other (including a right to offset)
() Check if this claim relates to a
community debt £
Date debt was incurred 05/31/2002 Last 4 digits of account number ___ _—
L_2.2] Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent
C4) Untiquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(] Debtor 1 only "al An agreement you made (such as mortgage or secured
(J Debtor 2 only ___ car loan)
[3 Debtor 1 and Debtor 2 only a Statutory lien (such as tax lien, mechanic’s lien)
[J Atieast one of the debtors and another ©) Judgment lien from a lawsuit
iJ Other (including a right to offset)
Q) Cheek if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number oe
Add the dollar value of your entries in Column A on this page. Write that number here: b___10,899.47 |

 

 

page 1 of 2.
Debtor 1

Case 17-30216 Document 15 Filed in TXSB on O1/271tPage 160f 30 ~~ =~

leeshia Keyonnie

Lawrence

 

First Name Middle Name Last Name

Case number (ir known) 17-30216

 

a List Others to Be Notified for a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page. :
. oa: 2
| | State Farm Mutual Automobile Insurance Company On which line in Part 1 did you enter the creditor? ~
Name Last 4 digits of accountnumber_2 5 6 9
1 State Farm Plz
Number Street
Bloomington IL 61710
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ __
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ __
Number Street
City State ZIP Code
|| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
|_| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ _
Number Street
City State

ZIP Code

 

 

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

page2 of 2__

 

 
STIL MLAM UM ileveiie- ecole mcomlei-1nl ta me el 0| mere kt-m

 

 

Debtor1  leeshia Keyonnie Lawrence | Mee cee
First Name Middie Name Last Name Sauient Uae

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

JAN 2 jf vil

United States Bankruptcy Court for the: Southern District of Texas

 

17-30216

Case number

David J, Bradley, Clerk obdoGiheck if this is an

 

(If known)

 

amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

12/15

a List All of Your PRIORITY Unsecured Claims

 

4. Bo any creditors have priority unsecured claims against you?

Wd No. Go to Part 2.
O Yes.

 

 

 

 

 

 

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

Priority Creditors Name

 

Number Street

 

 

city State ZIP Code

‘Who incurred the debt? Check one.

wl Debtor 1 only

a Debtor 2 only

“3 Debtor 1 and Debtor 2 only

‘J At feast one of the debtors and another

a Check if this claim is fora community debt
ts the claim subject to offset?

U No

QO) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim —_ Priority Nonpriority
- amount amount
2.1
Last4 digits ofaccountnumber_ si $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
City State ZIP Code . Contingent
Q Untiquidated
Who incurred the debt? Check one. Cl bisputed
C) Debtor 1 only
QO) Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only () Domestic support obligations
At least one of the debtors and another (] Taxes and certain other debts you owe the government
Q) Check if this claim is for a community debt () Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
0 No CQ] Other. Specify
Q) Yes
2:2 | Last 4 digits ofaccountnumber_ ss = og $ $

 

When was the debt incurred?

“s of the date you file, the claim is: Check ail that apply
ia) Contingent

(2 Unliquidated

Disputed

Type of PRIORITY unsecured claim:
‘wd Taxes and certain other debts you owe the government

"a) Claims for death or personal injury while you were
wtoxicated

QQ other. Specify

 

page 1 of A

 
Debtor 1

 

First Name Middle Name Last Name

Ce List All of Your NONPRIORITY Unsecured Claims

leeshif&ASe 17-3424. 6,fgocument Lrekledih TXSB Op OMer tz Raggstg ot 36° en

 

 

Yes

claims fill out the Continuation Page of Part 2.

3. Do any creditors have nonpriority unsecured claims against you?
C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.if you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

8300 Camp Creek Pkwy, SW Bldg 1800, Suite 110

 

 

 

Number Street
Atlanta GA 30331
city State “IP Code

‘Nho incurred the debt? Check one.

“ Debtor 1 only

J) Debtor 2 only

Debtor 1 and Debtor 2 only

a] At least one of the debtors and another

id Check if this claim is for a community debt

is the claim subject to offset?

No
U) Yes

“Totalclaim
Fe] Fed Loan Serv Last 4 digits of accountnumber_/ 9 O 3 74.100.00
Nonpriority Creditors Name $Y
PO Box 60610 When was the debt incurred? 05/31/2016
Number Street
Harrisburg PA 17106
City State ZIP Code As of the date you file, the claim is: Check ail that apply.
C) Contingent
Who incurred the debt? Check one. OC) Unliquidated
i Debtor 1 only Disputed
O) Debtor 2 only
CJ Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another WH student oans
QO] Check if this claim is fora community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (1 Debts to pension or profit-sharing plans, and other similar debts
4 No Q other. Specify
QC) Yes
2 IC Systems Inc Last 4 digits of account number 5 _0 _0 i $ 220.00
Nonpriority Creditors Name When was the debt incurred? 01/01/2014
PO Box 64378
Number Street
Saint Paul MN 55164 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Y Contingent
Who incurred the debt? Check one. Q) unliquidated
i Debtor 4 onty C1 Disputed
C) Debtor 2 only .
Q) debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
O At least one of the debtors and another U Student loans
. | QO Obligations arising out of a separation agreement or divorce
() Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? J Debts to pension or profit-sharing plans, and other similar debts
J No WM other. Specify Electric Services
Cl] Yes
4.3 : :
| National Credit Systems Inc Last 4 digits of account number _0 0 9 0 204.00
Nonpriority Creditors Name $CAN

10/01/2012

When was the debt incurred?

As of the date you file, the claim is: Chéck ail that apply.

J Contingent
(J Unliquidated
4 Disputed

rype of NONPRIORITY unsecured claim:

‘3 Student loans

ll Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

L) Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify_ Back Rent Owed

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page & ad. of 1

 
neue, leeshife aSC 17-2086 yROCUMENt BG efrileerin-FXSB op:01/27/17- Raggsigot 30 ~

 

First Name Middle Name Last Name

se Number (if known),

ES Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.4 _ 82 18
Navient Last 4 digits of accountnumber © 4 [0 90 $ 9945.00
Nonpriority Creditors Name
When was the debt incurred? 02/01/2008
PO Box 9655 ——_
Number Street As of the date you file, the claim is: Check all that app!
Wilkes Barre PA 18773 yous: ‘ ameter apply:
City State ZIP Code Q Contingent
Q) unliquidated
Who incurred the debt? Check one. 4 Disputed
Debtor 1 only
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
O) Debtor 1 and Debtor 2 only M& student loans
C1 At least one of the debtors and another CJ Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as priority claims
Q Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C) other. Specify
i No
Q) Yes
45 ial 3047 369.00
Specialized Collection System Last 4 digits of account number S| V4 _f $
Nonpriority Creditors Name
When was the debt incurred? 10/01/2011
PO Box 441508
Number Street
As of th ‘ou file, the claim is: Check all that apply.
Houston ™ 77244 8 of the date you im i eck all that apply.
City State ZIP Code Q) Contingent
QC) unliquidated
Who incurred the debt? Check one. UW Disputed
4 Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only Q] Student loans
At least one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims _
L) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? 2 other. Specity_ Medical Services
a No
U2 Yes
46 te s 12,767.00
Texas A&M University Last 4 digits of accountnumber 5S 09 O 5
Nonpriority Creditors Name
When was the debt incurred? 10/01/2015
750 Agronomy Rd. TT
Number Street As of the date you file, the claim is: Check all that appl
: : : Check a .
College Station T™ 77843 ¥ pPly
City State ZIP Code (J Contingent

Who incurred the debt? Check one.

id Debtor 1 oniy

C2 Debtor 2 only

[} Debtor 1 and Debtor 2 only

{3 atleast one of the debtors and another

(Check if this claim is for a community debt

is the claim subject to offset?
‘d No
L) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

fd Unliquidated -
val Disputed

Type of NONPRIORITY unsecured claim:

“A Student ioans

Cd Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
(1 Debts to pension or profit-sharing plans, and other similar debts

5d Other. Specify_ Tuition Debt

page 3 of 1
Debtor 1

jeshifa5e 17-30RdinBOCUMENt Aehded in TXSB OB,O1/27/17 Rageageot GO.

 

First Name Middle Name Last Name

 

eS Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ho incurred the debt? Check one.

d Debtor 1 only

(J Debtor 2 only

(J Debtor 1 and Debtor 2 only

{] At least one of the debtors and another

‘ad Check if this claim is for a community debt

is the claim subject to offset?
“d No
4 Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
47), Last 4 digits of tnumber 4 0 3 8
First Financial Bank ast 4 digits of account number "=e 3 1,620.00
Nonpriority Creditors Name
When was the debt incurred? 02/01/2003
PO Box 1100
Number Street
: . i is: ly.
North Sioux City SD 57049 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code QO Contingent
QC) unliquidated
Who incurred the debt? Check one. w Disputed
Y Debtor 1 only
UO Debtor 2 only Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 only 2 Student loans
LI At least one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
(2 Check if this claim is for a community debt you did not report as priority claims .
OC Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WW other. Specify Credit Card Debt
i No
C) Yes
48 igi 6 14 Q 1,706.00
The Durham At Cityview Place Last 4 digits of accountnumber © | 4 VU_ $_ 1,706.00
Nonpriority Creditors Name
When was the debt incurred? 10/01/2009
501 Greens Road
Number Street As of the date you file, the claim is: Check all that appl
Houston TX 77060 youre, , PP'y:
City State ZIP Gade C Contingent
Q) unliquidated
Who incurred the debt? Check one. w Disputed
V Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims .
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C1 other. Specity_ Rental, lease Agreement
wi No
C) Yes
{4.9} 8 6 $2,172.00.
Forest Pointe Last 4 digits ofaccountnumber 8 6 8 3
Nonpriority Creditors Name
When was the debt incurred? 10/01/2010
13030 Northborough Dr. ——————_
Number Street As of the date you file, the claim is: Check all that app!
Houston TX 77067 O ean YOM MNS ING CORNEA NSE MANGCK BU MNEE BPP.
City State ZIP Code [ Contingent

TL] Unliquidated
d Disputed

Type of NONPRIORITY unsecured ciaim:

{1 Student loans

ad Obligations arising out of a separation agreement or divorce that
“ou did not report as priority claims

(1 Debts to pension or profit-sharing plans, and other similar debts
“d Other. Specify. Rental, lease agreement

page 4 of A

 
ce ; leeshif-aSe 17-3Q@hEnnkgocument AWrefded in TXSB on 01/27/17 Raggegg of 30 -

 

First Name Middle Name Last Name

Case number (it known)

eS Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4nd vat
Univeristy of Houston-Downtown Last 4 digits of account number 3° 5 6 8 ¢ 5,014.00
Nonpriority Creditors Name
. When was the debt incurred? 01/01/2008
12 Main Street
Number Street :
As of th file, the claim is: Check all th ly.
Houston TX 77002 s of the date you file, the claim is: Check all that apply
City State ZIP Code C) Contingent
unliquidated
Who incurred the debt? Check one. 4 Disputed
i Debtor 1 only
QC) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only wt Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is fora community debt you did not report as priority claims a
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W@ other. specify Tuition Payment
wi No
C] Yes
Last 4 digits ofaccountnumber $
Nonpriority Creditors Name
When was the debt incurred?
Numbe Street
met ree As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
QO) unliquidated
Who incurred the debt? Check one. © bisputea
Q) Debtor 4 only
Cl Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
CQ Check if this claim is for a community debt you did not report as priority claims .
QO) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C] other. Specify
Ci No
C) Yes
|_| s
Last 4 digits of account number ___ _
Nonpriority Creditors Name
When was the debt incurred?
Number Street . woe
As of the date you file, the claim is: Check all that apply.
City State ZIP Code LI Contingent

.dho incurred the debt? Check one.

wai Debtor 1 only

Q) Debtor 2 only

‘ad Debtor 1 and Debtor 2 only

“ad At least one of the debtors and another

iad Check if this claim is for a community debt

is the claim subject to offset?
— No
CJ Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

(J Unliquidated
“2 Disouted

Type of NONPRIORITY unsecured ciaim:

A Student loans

ma Obligations arising out of a separation agreement or divorce that
ou did not report as priority claims

(a Debts to pension or profit-sharing plans. and other similar debts

“Other. Specify

 

page 5 of L

 

 

 
neues leeshi- 2S¢: 178984, ,ROCUMeN| 15,.Riled in TXSB of 01/27/47:=Pagg 2 of 30

Case number (if known)

 

First Name Middle Name

Last Name

ee List Others to Be Notified About a Debt That You Already Listed

 

_ 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

i
:
}

|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CityView Place On which entry in Part 1 or Part 2 did you list the original creditor?
Name
315 Benmar Dr. Line 4.3 of (Check one): OQ Part 1: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number_O 0 9 0
Houston TX 77060 9 =F
City State ZIP Code
Direct Energy On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 850 Line 4.2 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street WM Part 2: Creditors with Nonpriority Unsecured
Claims
Lincolnshire IL 60069 Last 4 digits of account number_5 0 O 1
City State ZIP Code
JS Wilkenfeld MD Assoc. N Cyp On which entry in Part 1 or Part 2 did you list the original creditor?
Name
21216 NW Freeway Line 4.5 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Wf Part 2: Creditors with Nonpriority Unsecured
Suite 645 Claims
Cypress T™ 77429 Last 4 digits of account number_1_8 6 3
City State ZIP Code
West Houston Radiology On which entry in Part 1 or Part 2 did you list the original creditor?
Name
21216 NW Freeway Line 4.5 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Wf Part 2: Creditors with Nonpriority Unsecured
Suite 220 Claims
Cypress 1X 77429 Last 4 digits of account number _3 _0 4 Tt
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O1 Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number.
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name ,
Line of (Check one): (2. Part 1: Creditors with Priority Unsecured Claims
‘lumber = Street , ‘md Part 2: Creditors with Nonpriority Unsecured
Claims .
Last 4 digits of account number ___ _
City 3tate ZIP Code
- On which entry in Part 1 or Part 2 did you list the original creditor?
iame
Line of (Check one): C3 Part 1: Creditors with Priority Unsecured Claims
sumo Street -
vet we (J Part 2: Creditors with Nonpriority Unsecured
Claims
City Stale Last 4 digits of account number ___ _

ZIP Code

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

 

 

page & of 1

 
nebiort __ leeshige ASE 17-3 nnigocument, byjrehded in TXSB Of SHAT /12--“W gga g of 30

First Name Middle Name Last Name

es Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

 

Add the amounts for each type of unsecured claim.

Total claims
| from Part 1

Total claims
- from Part 2

Official Form 106E/F

6a.

6c.

6d.

6e.

6h.

Gi.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add ali other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

Gi.

6j.

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
$ 0.00
+5 0.00
$ 0.00
Total claim
$ 101,826.00
$ 0.00
$ 0.00
+5 6,291.00
$ 108,117.00

 

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 1
Case.17-30216 Dosiiment 18;"Filed#-TXSE on 01/27/17 Page 24 of 30
TIMIDM alMUabioleutr:| (lelam<emie(-Til ame ell Lmer-Liem J }

Debtor leeshia Keyonnie Lawrence — Rhtene Se

First Name Middle Name Last Name . Sautem Distacr ot Texes
FILED

  

 

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

JAN 27 Cuil

United States Bankruptcy Court for the: Southern District of Texas
Case number 17-30216

(If known)

 

David J, Bradley, Clerk f9°Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
i No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
(J Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle tease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

Number Street

 

City State ZIP Code
2.2

Name

 

 

Number Street

 

City State ZIP Code
23

 

Name

 

Number Street

 

 

City State ZIP Code
2.4

 

Name

 

Number Street

 

City State ZIP Code
2.5

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of _1_

 
 

~Gase 17-30246 Document is Filed in TXSB on 01/27/17 Page 25 of 30 -~ *)

IMAM Cle MLacelmart-| Kelim xem (e(-1al4)i'me'cel UL mer: 11-8

 

 

 

 

Debtor 1 leeshia Keyonnie Lawrence dyed Sint
First Name Middle Name Last Name Spainaent i ri
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name ws *
JAN 27 201

United States Bankruptcy Court for the: Southern District of Texas
Casenumber LTsoe'e pavid J. Bradley, Clerk of Court

Own,

LJ Check if this is an

 

amended filing

Official Form 106H

 

Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

UL No
“i Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

L) No. Go to line 3.
wi Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

LJ No

W@ Yes. In which community state or territory did you live? Texas . Fill in the name and current address of that person.

Joshua Lawrence

Name of your spouse, former spouse, or legal equivalent

10430 Kentington Oak Dr.

 

 

Number Street
Humble TX 77396
City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
‘Check ail schedules that apply:
3.1
QC] Schedule D, line_
Name
C) Schedule E/F, line
Number Street QO) Schedule G, line
City State ZIP Code
3.2 on
: (2 Schedule D, line
Name oo
L] Schedule E/F, line
Number Sireet [J Schedule G, line
City State ZIP Code
3.3
i (4 Schedule D, line
Name TT
{4 Schedule E/F, line
Number Street LL} Schedule G, line
City . State ZiP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 1

 
Case 17-30216 Document 15 Filed’in TXSB‘orf01/27/17 Page 26 of 30°: vim
: Soahneen eure at Toxed |
STIMU UU MILGoLetir elem cemte(-1n diame kel) Leet: ion : es
JAN 27 cull

Debtor 4 leeshia Keyonnie Lawrence

First Name Middle Name Last Name

 

Debtor 2 David J, Bradley, Clerk of Court

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Texas

Case number _17-30216 Check if this is:

(If known)
LJ An amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 ww DDT YY
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for

supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

am Describe Employment

1. Filtin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

 

If you have more than one job,

attach a separate page with
information about additional Employment status a Employed C) Employed
employers. LJ Not employed CD Not employed

include part-time, seasonal, or

self-employed work.
poy Occupation Texas Works Advisor

Occupation may include student
or homemaker, if it applies.

Employer’s name Texas Health & Human Services

 

Employer's address 4900 North Lamar Blvd

 

 

 

 

 

Number Street Number Street

Austin TX 78751

City State ZIP Code City State ZIP Code
How long employed there? 9 months 9 months

 

er Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
celow. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

tw

List monthly gross wages, salary, and commissions (before all payroll

 

deductions). if not paid monthly, calculate what the monthly wage would be. 2. 5 2,460.08 s
3. Estimate and fist monthly overtime pay. 3. +s 0.00 +3
4. Calculate gross income. Add line 2 + line 3. 4. | 3 2,460.08 $

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1
Case 17-30216 Document 15. Filet ii*TXSB on 01/27/17" Page FFét 307° “

 

 

 

Debtor 1 leeshia Keyonnie Lawrence "Case number (known 17-302 16
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Here... eee cccccssssessssecsessnesesseseseesneseeesnetteenesnesteaneeresseeses >4 $_ 2,460.08 $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 300.42 $
5b. Mandatory contributions for retirement plans 5b. $§ 233.71 $
5c. Voluntary contributions for retirement plans 5. $ 22.26 $
5d. Required repayments of retirement fund loans Sd. $ 0.00 $
5e. Insurance 5e. § 14.76 $
5f. Domestic support obligations 5S 0.00 $
5g. Union dues 5g. § 0.00 $
5h. Other deductions. Specify: 5h. +$ 0.00 +63
6. Add the payroll deductions. Add lines 5a + 5b + 5c+5d+5e+5f+5g+5h. 6 § 571.15 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. ¢ 1,888.93 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ 0.00 $

monthly net income. 8a. *
8b. Interest and dividends 8b. §¢ 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $

settlement, and property settlement. 8c. -
8d. Unemployment compensation 8d. §. 0.00 $
8e. Social Security 8e. § 0.00. $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Suppiemental

Nutrition Assistance Program) or housing subsidies.

Specify: er. 215.00 $
8g. Pension or retirement income 8g. § 0.00 $
8h. Other monthly income. Specify: 8h. +$ 0.00 +$

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9 | $ 215.00 $
10. Calculate monthly income. Add iine 7 + line 9. . _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. s__2,103.93 + $ =f 2,103.93

 

 

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: 1.4 $ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
‘Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information. if it applies 12. s___ 2,103.93
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

id No.

 

C) Yes. Explain:

 

 

 

Official Form 1061 / Schedule |: Your Income page 2
ee “Case 17-30216 Document 1Fied in TXSB on 01/27/17 Page 28 of 30°

TIL MUOm UTM OLolauirc lao am com e(-altis ae Lele] mor: [tm

 

 

       

 

Debtor 1 leeshia ‘Keyonnie Lawrence eatin ta.

First Name Middle Name Last Name Check if this is:
Debtor 2 .
(Spouse, if filing) FirstName Middle Name C) An amended filing

a L} A supplement showing postpetition chapter 13

United States Bankruptcy Court for the: Southern District of Texas expenses as of the following date:
Case number 17-30216 sirens Sines Dyce
(If known) MM / DD/ Yn BL {exes

t FILED
Official Form 106J . JAN 27 2uil
Schedule J: Your Expenses sLLBradley,Clerkof Court 12/48

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

eae Describe Your Household

1. Is this a joint case?

 

 

 

Xl No. Goto line 2.
C) Yes. Does Debtor 2 live in a separate household?

CJ No
LY Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? UO No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and wf Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent............ ee O
Do not state the dependents’ Son Oyrs wi No
names. Yes
Son 4yrs O No
Yes
CO) No
Spouse. 34yrs__
. Yes
L) No
C} Yes
C} No
C) Yes
3. Do your expenses include O) No

expenses of people other than wi
yourself and your dependents? Yes

re Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule /: Your income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and — EN AA.
any rent for the ground or lot. 4. $ 950.00
if not included in line 4:
4a, Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c §$ 0.00
4d. Homeowner's association or condominium dues 4d $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

 

 

 

 

 
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Your expenses

$

rnPn FF fF FF GF HF

A Ff HF w

Aah GF

Debtor 1 leeshia Keyonnie Lawrence Case number (irknown_17-30216
First Name. Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utilities:
6a. Electricity, heat, natural gas 6a.
6b. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, Internet, satellite, and cable services 6c.
6d. Other. Specify: 6d.

7. Food and housekeeping supplies 7.

8. Childcare and children’s education costs 8.

9. Clothing, laundry, and dry cleaning 9.
10. Personal care products and services 10.
11, Medical and dental expenses 11,
12. Transportation. include gas, maintenance, bus or train fare.

Do not include car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.

15b. Health insurance 15b.

15c. Vehicle insurance 15¢.

15d. Other insurance. Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or inciuded in lines 4 or 20.

Specify: 16.
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a.

17b. Car payments for Vehicle 2 17b.

17c. Other. Specify: 17c.

17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 1061). 18.
19. Other payments you make to support others who do not live with you.

Specify: 19.
20. Other real property expenses not inciuded in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property 20a.

20b. Real estate taxes 20b.

20c. Property, homeowner's. or renter’s insurance 20c.

20d. Maintenance, repair, and upkeep expenses 20d.

20e. Homeowner's association or condominium dues 20e,

Official Form 106J

Schedule J: Your Expenses

FF F GF

 

0.00

120.00
0.00

0.00
0.00

555.00
0.00
0.00

100.00
0.00

214.00

0.00
0.00

0.00
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0.00

0.00
0.00
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0.00

0.00

0.00

0.00

9.00

0.00
9.00

0.00

page 2

 
ste 9 Qgse 17-3026 “Document 15 Filed in TXSB on 01/27/17 “Page 30 of 30

 

 

 

Debtor1 — leeshia Keyonnie Lawrence Case number «known 17-30216
First Name Middle Name Last Name
21. Other. Specify: 21. +3 0.00

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. |g 1,939.00
22b. Copy fine 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | §¢ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 4,939.00

 

 

 

23. Calculate your monthly net income.

 

2,103.93
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $___<)hws<.
23b. Copy your monthly expenses from line 22c above. 23b. —§ 1,939.00
23c. Subtract your monthly expenses from your monthly income.

$ 164.93
The result is your monthly net income. 23c.

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Wf No.

 

Q) Yes. Explain here:

 

 

 

Official Form 106J Schedule J: Your Expenses page 3

 
